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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NOTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

YORAM AVNERI,                                   §
    Plaintiff,                                  §
                                                §       CIVIL ACTION NO. 4:17-CV-00588-
v.                                              §                   O-BP
                                                §
HARTFORD FIRE INSURANCE                         §
COMPANY,                                        §
    Defendant.                                  §

                 AGREED MOTION FOR DISMISSAL WITH PREJUDICE

TO THE HONORABLE COURT:

         Plaintiff YORAM AVNERI and Defendant HARTFORD FIRE INSURANCE

COMPANY file this their Agreed Motion for Dismissal with Prejudice and would respectfully

show unto the Court the following:

                                                 I.

         Plaintiff and Defendant, through their counsel of record, announce to the Court that all

matters in controversy between them have been fully and finally resolved. The intent of this Agreed

Motion for Dismissal is to dismiss all Defendants from this cause of action whether or not

specifically referred to herein.

                                                 II.

         Plaintiff and Defendant move this Court to dismiss this case with prejudice as to all

Defendants, with costs to be taxed against the party incurring same.

         WHEREFORE, Plaintiff and Defendant respectfully request the Court enter their Agreed

Order of Dismissal with Prejudice as to Plaintiff’s right to refile same.
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                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2017, a true and correct copy of the foregoing has
been forwarded to counsel of record in accordance with the Texas Rules of Civil Procedure:

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                                            /s/ Derek L. Fadner
